Case 1:18-cv-01127-UNA Document 1-1 Filed 07/31/18 Page 1 of 16 PageID #: 18




                         EXHIBIT A
Case 1:18-cv-01127-UNA Document 1-1 Filed 07/31/18 Page 2 of 16 PageID #: 19
                                                                                                                  US006718436B2

 (12) United States Patent                                                                 (10) Patent N0.:                         US 6,718,436 B2
        Kim et al.                                                                         (45) Date of Patent:                                  Apr. 6, 2004


 (54)    METHOD FOR MANAGING LOGICAL                                                           5,435,004 A        *   7/1995 Cox et al. ................. .. 711/112
         VOLUME IN ORDER TO SUPPORT                                                            5,761,526 A        *   6/1998 Sakakura et al. ............ .. 710/1
         DYNAMIC ONLINE RESIZING AND                                                           5,897,661 A            4/1999 Baranovsky et al. ...... .. 711/170
                                                                                               6,574,705 B1 *         6/2003      Peloquin 61 al. .......... .. 711/114

         METADATA AND COMPUTER READABLE                                                                      OTHER PUBLICATIONS
         MEDIUM STORING THE SAME
                                                                                      Kim, et al. ; SANtopia Volume Manager . . . ; The 3rd
 (75) Inventors; Chang-S00 Kim, Taejon      Gyoung                                    International Conference on Advanced Communication
                 Bae Kim, Incheon (KR); Bum J00                                       Tech; Feb- 2001> P- 625—628
                 Shin, Taejon                                                         Kim, et al.; Volume Management in SAN Environment;
                                                                                      Proceedings of the Eighth Int’l Conference on Parallel and
 (73) Assignee: Electronics and Telecommunications                                    Distributed Systems; Jun. 2001, pp. 500—505.
                        Research Institute, Taejon (KR)                               *    _                 _
                                                                                          cited by examiner
 ( * ) Notice:          Subject' to any disclaimer, the term of this                  Primary Examiner_G1enn Gossage
                        Patent 15 extended or adlusted under 35                       (74) Attorney, Agent, or Firm—Jacobson Holman PLLC
                        U.S.C. 154(b) by 149 days.
                                                                                      (57)                             ABSTRACT
 (21) Appl' NO‘: 10/005’604                                                           A method for managing a logical volume for minimizing a
 (22) Filed;     Dec_ 7, 2001                                                         siZe of metadata and supporting dynamic online resizing and
                                                                                      software redundant array of independent disks (RAID), and
 (65)                  Prior Publication Data                                         a computer-readable recording medium storing instructions
         Us 2003/0023811 A1 Jam 30’ 2003                                              for embodying the method, are disclosed. The method
                                                                                      includes the metadata having a disk partition table contain
 (30)          Foreign APPIiCZItiOII PI‘iOI‘itY Data                                  ing information of a disk partition in Which the metadata is
   Jul‘ 27 2001        (KR)                                      200145621            stored; a logical volume table for maintaining the informa
           ’                   """""""""""""""""""" "                                 tion of the logical volume by storing duplicated information
 (51)    Int. Cl.7 .............................................. .. G06F 13/00       of the logical volume onto all disk partitions of the logical
 (52)    U.S. Cl. ...................................... .. 711/114; 711/170          Volume; an eXtent allocation table for indicating Whether
 (58)    Field of Search ............................... .. 711/114, 170,             each extent in the disk partitions is used or not; and a
                                                                    711/112           mapping table for maintaining a mapping information for a
                                                                                      physical address space corresponding to a logical address
 (56)                        References Cited                                         space Which is a continuous address space equal in siZe of
                                                                                      storage space of Whole logical volume.
                   U.S. PATENT DOCUMENTS
        5,129,088 A      *    7/1992 Auslander et al. ........... .. 711/1                               14 Claims, 6 Drawing Sheets




                                               5' 52 is 54                                                                   61
                                                                                       VOLUMEl ISTRlPlNG(HAlD-0/)V 62
                                                                                       VOLUMEZ i CQNCATENAT 1 ON
                                                                                  @ V0LUME3ISTR 1 FEB                 /\/ ‘53
                                                                                       PAR : TY
                                                                                                  (RAW-5)             A/ 64
                                                                                       VOLUME4 I STH l PED
                                                                                                  (HA I D-0+l )
                                           DISKS DISK6 DISK7 DISKB


                                          55       56       57        58

                                                               METADATA TABLE
                                                   PHYSICAL PARTITION WG’P MAP)
                                                          LOGICAL VOLUME MAP (LV MAP]
                                                   MIT-THOR WRITE CONSISTENCY MAP(MWC MAP)
                                                             EXTENT ALLOCATION MAP

                                                                  MAPP l NG MAP
Case 1:18-cv-01127-UNA Document 1-1 Filed 07/31/18 Page 3 of 16 PageID #: 20


 U.S. Patent             Apr. 6, 2004          Sheet 1 0f 6            US 6,718,436 B2




                                FIG. 1


          FILE SYSTEM &              IO     ADMIN GUI & COMMAND            2O
             DATA MANAGER     A/               LINE INTERFACE .        N



                      LOGICAL VOLUME MANAGER                  W30


                                V


                PHYSICAL ~STORAGE DEVICE DRIVERS A            /\/40



                                FIG. 2
        51       52      53     54


              DSK2 DISKB DISK4                   _                              61

                                        @ VOLUMEI :STRIPINMRAm-RJV 62
                                          ' "~61 VOLUMEZ; CONCATENAT I ON /I/
                                               VOLUM$31STRIPED         /\/ 63
                                               PAR;      (RAID 5)           64
                                               VOLUME4ISTRIPED         A/
                                               MIRROR
                                                         (RAID-0+1 I
     DISK5 DISK6 DISK7 DISKB
Case 1:18-cv-01127-UNA Document 1-1 Filed 07/31/18 Page 4 of 16 PageID #: 21


 U.S. Patent             Apr. 6, 2004           Sheet 2 0f 6                     US 6,718,436 B2


                                             ‘FIG. 3

                                     METAOATA TABLE
                         PHYSICAL PARTITION MAP(PP MAP)
                                                                         ,V TI
                                                                            72
                              LOGICAL vOLLIME MAP (LV MAP)               A/
               N MIRROR WRITE CONSISTENCY MAPIMMO MAPI/V 73
              7°         EXTENT ALLOCATION MAP      ,H/ 74
                                         MAPPING MAP       _             /\/ 75


                                              FIG. 4
                                  PHYSICAL PARTITION MAP
                          *-"—_-I6 RyLe—————>                                ,   81
                                              HEAOER ‘                V 82
                                    vOLuME ID (VOL_ID)               A/ 83
                N           PHYSICAL PARTITION IO(PP_IO) /
               7‘                    OATA START          /\/ 84
                           EXTENT     MIRROR          ‘
                           SIZE         IO

                               %85 Qas       FIG. 5
                           LOGICAL VOLUME MAP (LV MAP)
                 +——-————Is B t -———————>
                                                y e                      ,            9T
                                        I-IEAOER                             92
                                  VOEIIME ID(VOL IO)                     /\/ '
          /\/ __________ __> __________________________________ __f\/ 93
         72                   VOLUME NAME(vOL_NAME)                      /\/ 94
                  EXTENT TOTAL               STRIPE RAID TOTAL
                 ‘SIZE     NUMBER -          SIZE     LEVEL NUMBER
                           OF EXTENTS                          OF DISK
                           IN VQLUME                           PPLRTITIONS

                   95        96
Case 1:18-cv-01127-UNA Document 1-1 Filed 07/31/18 Page 5 of 16 PageID #: 22


 U.S. Patent            Apr. 6, 2004      Sheet 3 0f 6           US 6,718,436 B2


                                       FIG. 6



                                   MAPPING MAP
                <—————-—- 32 Byte —-————+                            m
                                       HEADER                   ’V
                PHYSiCAL PARTITlON              EXTENT NUMBER   /\/ ‘03
       102/\/ ‘D                                  ‘      ‘


         /\/‘
        75




                                       FIG. 7


                                                                PHYSICAL
                     LOGICAL                                    ADDRESS
                     ADDRESS INDEX -_* O




             zoo/V                         3
Case 1:18-cv-01127-UNA Document 1-1 Filed 07/31/18 Page 6 of 16 PageID #: 23


 U.S. Patent               Apr. 6, 2004            Sheet 4 0f 6                  US 6,718,436 B2




                                        FIG. 8



                                              MAPPING MAP                                  131
                                                   0                                     /\/
                                                         PHYSICAL
                                       102.        I                        PHYS I CAL
                                                       -   PARTITION ID,
                         RBA DIV. BY ‘03           2                        PARTITION 1
                                                           EXTENT ID x
                        EXTENT SIZE              .-3       EXTENT SIZE
               RBA
                                                                            PHYS I CAL
    130’                                                                    PARTITION 2


                     RBA MOD. EXTENT SIZE




                                        FIG. 9




               gr] 4404142 in§15° 152                                      ol 0’




           DISK               DISK                 DISK              DISK
           PARTITION          PART I T I ON        PARTITION         PARTITION
           I                  2                    3                 4
Case 1:18-cv-01127-UNA Document 1-1 Filed 07/31/18 Page 7 of 16 PageID #: 24


 U.S. Patent          Apr. 6, 2004         Sheet 5 0f 6           US 6,718,436 B2


                                     FIG. IO

                                   @
                              VOLUME CREATION REQUEST
                                 + PARAMETER FILE

                                        I
                          ’   READ PARAMETER FILE

                                        V

                              INITIALIZE METADATA OF
                               EACH DISK PARTITION '
                        ACCORDING TO PARAMETER FILE


                                   @
                                     FIG. II
                                   @
                        SELECT one DISK PARTITION AND.    I   /\/220
                        SET UP AS CURRENT PARTITION
                                       r




                         READ PP MAP AND LV MAP, AND
                         GENERATE MEMORY ‘STRUCTURE OF        M221
                     LOGICAL VOLUME. PHYSICAL PARTITION


                         MOVE TO NEXT DISK PARTITION          N222
                     AND SETTING UP ASjCURRENT PARTITION




                                                              4/224
                              GENERATE DEVICE FILES

                                       END
Case 1:18-cv-01127-UNA Document 1-1 Filed 07/31/18 Page 8 of 16 PageID #: 25


 U.S. Patent               Apr. 6, 2004        Sheet 6 0f 6                 US 6,718,436 B2




                                     FIG. 12



                                  REQUEST
                                            @
                                     T0‘ FREE-EXISTING
                                            ADDING NEW VOLUME
                                                        PARTITION


                                     '1111T1AL1ZE METADATA FOR
                                          NEW PARTITION                  M231


                                       MODIFY METADATA FOR               6/232
                                       FEE-EXISTING 1101111115




                   PERFORM OPERATIONS,
                   FOR DATA 11ove11e111 ,




                                     HG. 1-3


        émm
         4  4 112 4‘113                         2mm 122 123 124
         /  /- ./ .                              § § é é
            14‘25              36           ‘152.65.37.48
            7 1o    8 11       912        _     9        ‘10        11          12
        ‘           Y                J        >“—"-—\/*-——’- NEWDISK
               01s1< PAHTITIONS                OLD o1s1< PARTlTiONS        PARWONS
              LOGICAL VOLUME
Case 1:18-cv-01127-UNA Document 1-1 Filed 07/31/18 Page 9 of 16 PageID #: 26


                                                       US 6,718,436 B2
                                1                                                                       2
       METHOD FOR MANAGING LOGICAL                                         RAID-1: This type is also knoWn as disk mirroring and
        VOLUME IN ORDER TO SUPPORT                                       includes at least tWo drives that duplicate the storage of data.
        DYNAMIC ONLINE RESIZING AND                                      There is no striping. Read performance is improved since
       SOFTWARE RAID AND TO MINIMIZE                                     either disk can be read at the same time. Write performance
      METADATA AND COMPUTER READABLE                                     is the same as for single disk storage. RAID-1 provides the
          MEDIUM STORING THE SAME                                        best performance and the best fault-tolerance in a multi-user
                                                                         system.
                                                                           RAID-2: This type uses striping across disks With some
                FIELD OF THE INVENTION                                   disks storing error checking and correcting information. It
   The present invention relates to a method for managing a              has no advantage over RAID-3.
 logical volume for minimizing a siZe of metadata and                      RAID-3: This type uses striping and dedicates one drive
 dynamic resizing, and a computer-readable recording                     to storing parity information. The embedded error checking
 medium storing a program or data structure for embodying                information is used to detect errors. Data recovery is accom
 the method; and, more particularly, to a method for manag               plished by calculating the exclusive OR of the information
 ing a logical volume in order to support dynamic online            15   recorded on the other drives. Since an Input/Output opera
 resiZing of a logical volume and to minimiZe the siZe of                tion addresses all drives at the same time, RAID-4 cannot
 metadata managed by the logical volume manager that                     overlap I/O. For this reason, RAID-3 is best for a single-user
 overcomes a physical limitation of a storage device in                  system With long record applications.
 computer systems, and a computer-readable recording                       RAID-4: This type uses large stripes, Which means
 medium storing a program or data structure for embodying                records from any single drive may be read. This alloWs one
 the method.                                                             to take advantage of overlapped Input/Output for read
                                                                         operations. Since all Write operations have to update the
                          PRIOR ART                                      parity drive, no Input/Output overlapping is possible.
   The logical volume manager provides a logical volume                  RAID-4 offers no advantage over RAID-5.
 Which is one virtual disk drive and includes multiple physi        25      RAID-5: This type includes a rotating parity array, thus
 cal disk drives, and implements RAID (Redundant Array of                addressing the Write limitation in RAID-4. Thus, all read and
 Independent Disks) technique With softWare to construct the             Write operations can be overlapped. RAID-5 stores parity
 logical volume.                                                         information but not redundant data(but parity information
   First, RAID and related terms Will be explained.                      can be used to reconstruct data). RAID-5 requires at least
   RAID is a Way of storing the same data to different                   three and usually ?ve disks for the array. It is best for
 locations of multiple hard disks and it is usually utiliZed in          multi-user systems in Which performance is not critical or
 a server With important data. As duplicating and storing the            Which do feW Write operations.
 same data to different locations of multiple numbers of hard               RAID-6: This type is similar to RAID-5 but includes a
 disks, computing performance is improved by maintaining                 second parity scheme that is distributed across different
 equilibrium of input/output (I/O) processing and synchro                drives and thus offers extremely high fault- and drive-failure
 niZing input/output processing. Since multiple hard disks               tolerance. There are feW or no commercial examples cur
 increase Mean Time BetWeen Failures (MTBF) and multiple                 rently.
 copies of the same data on different locations on the multiple            RAID-7: This type includes a real-time embedded oper
 hard disks, fault tolerance of the computer system is also              ating system as a controller, caching via a high-speed bus,
 increased despite hard disk malfunctioning.                             and has other characteristics of a stand-alone computer. One
   By placing data on multiple disks, I/O operations can                 vendor offers this system.
 overlap in a balanced Way, improving performance. Since                   RAID-10: This type offers an array of stripes in       Which
 the use of multiple disks increases the mean time betWeen               each stripe is a RAID-1 array of drives. This offers     higher
 failure, storing data redundantly also increases fault                  performance than RAID-1 but at much higher cost.
                                                                    45
 tolerance.                                                                RAID-53: This type offers an array of stripes in       Which
    A RAID con?guration appears to the operating system to               each stripe is a RAID-3 array of disks. This offers      higher
 be a single logical hard disk. By utiliZing a striping tech             performance than RAID-3 but at much higher cost.
 nique in RAID, RAID makes possible varying numbers of                     Disk striping Will noW be explained.
 partitions Within one sector, for example, 512 bytes to                   Striping is the process of dividing logically continuous
 several megabytes, on a storage space of hard disks. The                data segments such as a single ?le and storing the divided
 stripes of all the disks are interleaved and addressed in order.        segments into physically separated devices such as disk
 Striping of all disks may be interleaved and orderly                    drives using a round robin technique. If a processor has the
 addressed.                                                              ability to Write and read data faster than to receive and apply
    In a computer system storing huge data such as a picture        55
                                                                         data from/to a single disk, striping is a useful technique.
 in the medical or scienti?c ?eld, stripes are typically set up            Data is divided into unique siZed bytes or sectors and
 to be small siZe, 512 bytes, so that a single record spans all          stored over several drives. For example, if there are four
 disks and can be accessed quickly by reading all disks at the           drives designed to operate With overlapping read/Write
 same time.                                                              operation, generally, four sectors can be read in the same
    In a multi-user system, better performance requires estab            time of reading one sector.
 lishing a stripe Wide enough to hold the typical or maximum                Disk Striping is not provided for fault tolerance or error
 siZe record. This alloWs overlapped disk Input/ Output across           checking but it can be used for such functions With other
 drives.                                                                 techniques.
   There are at least nine types of RAID plus a non                        Striping can be used With mirroring.
 redundant array (RAID-0).                                          65     Mirroring is a process for duplicating and storing data to
   RAID-0: This technique has striping but no redundancy of              more than one device for preventing damaged data in case
 data. It offers the best performance but no fault-tolerance.            of malfunctioning devices.
Case 1:18-cv-01127-UNA Document 1-1 Filed 07/31/18 Page 10 of 16 PageID #: 27


                                                     US 6,718,436 B2
                               3                                                                     4
    It can be embodied in hardware or software. A RAID                 volume using a mapping table storing a relation betWeen a
  system generally has a mirroring function. Operating sys             physical address and a logical address, using a minimum
  tems including the Novell Network operating system pro               space for metadata and supporting online dynamic resiZing.
  vide disk mirroring as softWare. If mirroring is applied to a          It is also another object of the present invention to provide
  magnetic tape storage system, it is usually called tWinning.         a computer-readable recoding medium storing a program or
  Another method, Which is cheaper than mirroring, for mini            data structure for embodying the method.
  miZing data damage is backing up data to magnetic tape at               In accordance With an aspect of the present invention,
  ?xed periods.                                                        there is provided a method for managing a logical volume in
    Based on the above-mentioned terms, the pre-existing               order to support dynamic online resiZing and minimiZing a
  technique Will be explained in the folloWing paragraphs.             siZe of metadata, the method including the steps of: a)
     Currently, storage devices With hardWare RAID are used            creating the logical volume by gathering disk partitions in
  for providing better performance, fault tolerance, data recov        response to a request for creating the logical volume in a
  ery from disk error, and to overcome limitations of disk             physical storage space; b) generating the metadata including
  drive siZe. Such a hardWare RAID device has several                  information of the logical volume and the disk partitions
  advantages but it also has an important disadvantage. It is          forming the logical volume and storing the metadata to the
                                                                  15
  too expensive.                                                       disk partitions forming the logical volume; c) dynamically
     Moreover, it is physically impossible to connect a large          resiZing the logical volume in response to a request for
  number of disk drives as one device so a hardWare RAID               resiZing, and modifying the metadata on the disk partitions
  device also has a limitation of possible applicable storage          forming the logical volume; and d) calculating and returning
  space.                                                               a physical address corresponding to a logical address of the
    For overcoming the foregoing problems of the hardWare              logical volume by using mapping information of the meta
  RAID device, a logical volume manager that implements                data containing information of the physical address corre
  softWare RAID, has been developed. The logical volume                sponding to the logical address.
  manager is an intermediate level block device driver imple             Also, the present invention, in a storage system With a
  menting the various RAID techniques in softWare based on             processor, is directed to providing a computer-readable
  the calculating ability of a computer, and treats several       25
                                                                       recording medium storing a program or data structure for
  physically separated independent disk drives as one disk             embodying the method and comprises functions for: a)
  drive.
                                                                       creating a logical volume by gathering disk partitions in
    Pre-existing logical volume managers have been using a             response to a request for creating the logical volume in a
  ?xed mapping method that uses a ?xed convert function in
  converting the logical address used by a high-level module,          physical storage space; b) generating the metadata including
  such as in ?le systems and general data managers, to a
                                                                       information of the logical volume and the disk partitions
  physical address of several underlying physical disk drives.         forming the logical volume and storing the metadata to the
  This method has a limitation in ?exibility since it ?xes the         disk partitions forming the logical volume; c) dynamically
  relationship betWeen logical address and physical address.           resiZing the logical volume in response to a request for
  Therefore, it has a problem accepting frequently requested      35
                                                                       resiZing, and modifying the metadata on the disk partitions
  services such as online resiZing When using storage space.           forming the logical volume; and d) calculating and returning
     Some logical volume managers don’t use a mapping
                                                                       a physical address corresponding to a logical address of the
  function When a logical address is mapped to a physical
                                                                       logical volume by using mapping information of the meta
                                                                       data containing information of the physical address corre
  address, but use a table-based method for mapping a logical
  address to physical address.                                         sponding to the logical address.
                                                                          The present invention maintains a mapping table sepa
     HoWever, conventional logical volume managers have
  problems in that metadata is too large to manage in huge             rately Without using a ?xed mapping function When a logical
  storage structures and processing speed is too sloW When             address, Which is used by a ?le system, a database and/or a
  modifying metadata. Also, for managing a logical volume,             data managing system for overcoming problems of currently
                                                                       used RAID systems, is mapped to the physical address of a
  the huge siZe of metadata delays system booting time and        45
  uses too much memory.
                                                                       real physical disk drive corresponding to the logical address.
    Baranovsky et al. teaches a logical volume manager that               By providing ?exibility of mapping, volume siZe can be
  provides logical storage space Without limitation of physical        dynamically increasing and decreasing effectively While
                                                                       operating a system and a RAID level of the volume can be
  storage device in Us. Pat. No. 5,897,661 under the title of
  “Logical volume manager and method having enhanced                   applied to a neWly added storage space.
  update capability With dynamic allocation of storage and               Also, operations for metadata modi?cation can be per
  minimal storage of metadata information”. HoWever, the               formed effectively by minimiZing necessary metadata for
  Baranovsky et al. patent has problems of having too much             managing a logical volume, and memory can have more
  metadata, delaying processing speed, delaying system                 space for other operations based on minimiZed metadata.
  booting time, and using too much memory.                        55     The present invention manages a logical volume by using
    The Baranovsky et al. patent uses storage space                    minimum space for system metadata and modi?es metadata
  information, Which is located on a memory When a system              by using minimum processing overhead. The present inven
  is booting and is for putting the information to memory, for         tion can also modify metadata With simple operation, man
  every process When conversion of a physical address to a             age huge storage, and provide various functions including
  logical address has to be performed. Therefore, the Bara             on-line resiZing, in response to a user’s request, during
  novsky et al. patent has problems of having too much                 system operation.
  metadata, delaying system-booting time, and using too                  Also, the present invention can provide information on
  much memory.                                                         another disk despite malfunctioning of one of the physical
                                                                       disks. The information includes not only normal information
             SUMMARY OF THE INVENTION                             65   but also system managing information. The present inven
    It is, therefore, an object of the present invention to            tion also Warns users When one of the devices is unavailable
  provide a logical volume manager for managing a logical              for use because of error.
Case 1:18-cv-01127-UNA Document 1-1 Filed 07/31/18 Page 11 of 16 PageID #: 28


                                                     US 6,718,436 B2
                               5                                                                     6
    The present invention provides a dynamic mapping                           PREFERRED EMBODIMENTS OF THE
  method for modifying mapping betWeen a logical address                                 INVENTION
  used in a high-level module and a physical address of a
  physical disk device as needed. Also the present invention             Other objects and aspects of the invention Will become
  minimiZes the siZe of metadata including mapping table               apparent from the folloWing description of the embodiments
  information needed for managing a logical volume.                    With reference to the accompanying draWings, Which is set
  Additionally, the present invention minimiZes the modifying          forth hereinafter.
  request on the metadata and then can support various online             FIG. 1 is an illustration of a computer system utiliZing the
  management functions including a resiZing request occur              present invention.
  ring during use of the storage space With minimum cost. By      10     FIG. 1 illustrates an interface betWeen a logical volume
  minimiZing the siZe of metadata managed in a memory                  manager, physical storage devices, and high-level services,
  While the system is operating, the present invention can             in accordance With a preferred embodiment of the present
  manage a super huge storage system.                                  invention.
    Additionally, in a malfunction situation in a disk of                 Auseful environment for the present invention includes a
  physical devices managed together logically, a requested        15   computer, several disk drive devices and a line connecting
  operation for another physical disk can be serviced continu          the computer and the disk devices. There is no limitation for
  ously.                                                               connection betWeen the computer and disk drive devices.
           BRIEF DESCRIPTION OF DRAWINGS                               HoWever, the computer may directly connect to disk drive
                                                                       devices or connect to a netWork including disk drive devices.
    The above and other objects and features of the present
  invention Will become apparent from the folloWing descrip              As shoWn in FIG. 1, the computer contains device drivers
  tion of the preferred embodiments given in conjunction With          (physical storage device drivers 40) for operating disk drive
  the accompanying draWings, in Which:                                 devices in an operating system.
    FIG. 1 is a diagram of a computer system utiliZing the                The logical volume manager 30 is a virtual intermediate
  present invention;                                              25
                                                                       level device driver located above a variety of physical
    FIG. 2 is a vieW of a logical volume in accordance With            device drivers 40, uses services of physical device drivers,
  a preferred embodiment of the present invention;                     and is included in an operating system of the computer.
    FIG. 3 is a structural diagram of a metadata table used in           A ?le system and data manager or traditional data man
  conjunction With a method for managing the logical volume            ager 10 performs operations on a logical volume serviced by
  in accordance With a preferred embodiment of the present             the logical volume manager 30. An administration graphical
  invention;                                                           user interface (admin GUI) and command line interface 20
    FIG. 4 is a structural diagram of a physical partition (PP)        are tools to perform managing operations on the logical
  map in the metadata table in accordance With a preferred             volume by using functions provided by the logical volume
  embodiment of the present invention;                                 manager.
    FIG. 5 is a structural diagram of a logical volume (LV)       35     FIG. 2 is a vieW of a logical volume that may be
  map in the metadata table in accordance With a preferred             constructed by the present invention in accordance With a
  embodiment of the present invention;                                 preferred embodiment of the present invention, and shoWs
    FIG. 6 is a structural diagram for a Mapping Map in the            possible logical volumes generated by the logical volume
  metadata table in accordance With a preferred embodiment             manager in an embodiment of eight disk drives. Disks 1, 2,
  of the present invention;                                            3, 4 are divided into four partitions and disks 5, 6, 7, 8 have
     FIG. 7 is a logical structural diagram for a Mapping Map          one partition. Disks can be divided into partitions using a
  in the metadata table in accordance With a preferred embodi          tool or utility applied by an operating system. For eXample,
                                                                       such a tool is “FDISK”.
  ment of the present invention;
     FIG. 8 is a diagram shoWing a mapping relation betWeen               Volume 1 61 includes the ?rst partition of disks 1, 2, 3, 4
  a logical address and a physical address through the map
                                                                  45   and has striping construction, RAID level 0.
  ping map in accordance With a preferred embodiment of the               Volume 2 62 includes the second partition of disks 1, 2,
  present invention;                                                   3, 4 and has concatenation construction.
    FIG. 9 is a diagram shoWing dividing the Mapping Map                  Volume 3 63 includes the third partition of disks 1, 2, 3,
  and storing the divided Mapping Map into each disk                   4 and has RAID level 5 construction.
  partition, in accordance With a preferred embodiment of the            Volume 4 64 includes the fourth partition of disks 1, 2, 3,
  present invention;                                                   4 and the Whole partition of disks 5, 6, 7, 8, and has a
    FIG. 10 is a ?oWchart illustrating a volume creation               combined construction With striping and mirroring, RAID
  procedure of a volume management method in accordance                level 0+1.
  With a preferred embodiment of the present invention;           55      There can be three possible virtualiZations of storage, in
    FIG. 11 is a ?oWchart illustrating a procedure for initial         accordance With a preferred embodiment of the present
  iZing device ?le in the system by initialiZing a logical             invention.
  volume in accordance With a preferred embodiment of the                 The ?rst virtualiZation is a disk partition or physical
  present invention;                                                   partition. As described above, the disk partition is generated
     FIG. 12 is a ?oWchart shoWing a procedure for increasing          by an operating system’s tool or utility. The disk partition is
  a siZe of an eXisting logical volume by adding neW disk              a minimum unit of the logical volume. A logical volume
  partitions, in accordance With a preferred embodiment of the         includes more than one disk partition. Therefore, a siZe of
  present invention; and                                               the logical volume is resiZed in disk partition units.
     FIG. 13 illustrates re-arrangement of data, Which is gen             The second virtualiZation is the logical volume. The
  erated during adding of a disk partition to a logical volume,   65   logical volume is a union of disk partitions and is extensible.
  in accordance With a preferred embodiment of the present             It is named and provides continuous address space. The
  invention.                                                           logical volume can be resiZed While the system is operating.
Case 1:18-cv-01127-UNA Document 1-1 Filed 07/31/18 Page 12 of 16 PageID #: 29


                                                         US 6,718,436 B2
                                  7                                                                         8
    The third virtualiZation is an extent. The extent is con                  The extent allocation map 74 is duplicated and stored in
  tinuous space having the same siZe. It is also a minimum unit             corresponding disk partitions for correcting local error in an
  of space allocation to store information. The siZe of an extent           extent allocation map of a corresponding disk partition.
  is ?xed With each logical volume and it is decided at the                   FIG. 4 is a structural chart for a PP map in the metadata
  creation of the logical volume. The siZe has to be an                     table, in accordance With a preferred embodiment of the
  exponent of tWo.                                                          present invention, and shoWs the physical partition Map 71
     After a disk partition is created using an operating sys               shoWn in FIG. 3 in detail. The PP Map 71 contains infor
  tem’s tool or utility, a logical volume is constructed With               mation on corresponding disk partitions.
  several disk partitions. At this point, information for con                 As shoWn in FIG. 4, the PP Map 71 includes a 16 byte
  structing a volume is also considered. The information               1O   Header 81, a VolumeiID 82 for a logical volume formed by
  includes a siZe of the extent and a RAID level. The logical               the disk partition, PPiID 83 for identifying itself in the
  volume manager records a metadata about the volume                        logical volume, a Data Start 84 for representing a real data
  construction in corresponding disk partitions. FIG. 3 is a                start point except the metadata table in the disk partition, an
  structural chart of a metadata table used in a method for                 Extent SiZe 85 arranged for the logical volume containing
  managing the logical volume, in accordance With a preferred          15   the partition, and a Mirror ID 86 for representing its role for
  embodiment of the present invention. It is a vieW illustrating            mirroring, if the logical volume containing the partition has
  the metadata table stored in each disk partition constructing             a mirror type.
  one logical volume. It shoWs the metadata table 70 main                      The Mirror ID has 0, if it has original data. The Mirror ID
  tained and stored in each disk partition constructing one                 is 1, if it has the ?rst mirror data. The Mirror ID is 2, if it has
  logical volume.                                                           the second mirror data. Therefore, the PPiID represents the
     Metadata in the metadata table includes a Physical parti               order of corresponding PP locations in the logical volume
  tion map, PP map 71, a logical Volume map, LV map 72, a                   and the Mirror ID has a role When the order is the same.
  mirror Write consistency map, MWC map 73, an extent                         The PP Map is stored only in corresponding disk parti
  allocation map 74, and a mapping map 75.                                  tions because it manages information of its disk partitions.
     In the metadata table 70, metadata for a Whole volume is          25
                                                                              FIG. 5 is a structural chart of a LV map in the metadata
  duplicated and stored in each disk partition. The metadata is             table, in accordance With a preferred embodiment of the
  the logical volume map, LV map 72. Metadata except logical                present invention, and illustrates the Logical Volume Map
  volume LV map 72 is data for each local disk partition and                72. It contains information about one logical volume and is
  it is stored only in a corresponding disk partition.                      duplicated and stored in all the disk partitions having the
     The mirror Write consistency map 73 is maintained only                 corresponding logical volume.
  When the logical volume is constructed by mirror type and                    As shoWn in FIG. 5, the Logical Volume Map 72 includes
  it is duplicated and stored at each mirror. For example, if               a 16 byte Header 91, a VOLiID 92 generated by the logical
  disk partition 1 and disk partition 2 are mirrored, then MWC              volume manager for identifying the logical volume, a
  map 73 of the disk partition 1 is duplicated as MWC map 73                VOLiNAME 93 named When the logical volume is created,
  of the disk partition 2. It is used for maintaining precise               an Extent SiZe 95 being a minimum space allocation unit of
  information When a malfunction occurs in one of the mir                   a corresponding volume, a Total # of Extents 96 being total
  rored disk partitions.                                                    number of extents in a corresponding volume, a Stripe SiZe
     The Mapping map 75 of a disk partition itself is dupli                 97 for representing a siZe of a stripe in case a corresponding
  cated and stored to a succeeding disk partition among disk                volume has striping type, a RAID Level 98 for representing
  partitions forming the logical volume. It is also for over                the constructing type of a corresponding volume, and the
  coming unavailability of information in case of disk parti                Number of disk partitions 99 being the total number of disk
  tion error.                                                               partitions constructing a corresponding volume. The Extent
     Each metadata Will be explained in detail in the folloWing           SiZe 95 must be a poWer of 2.
  paragraphs. The PP map 71 and the LV map 72 Will be                  45
                                                                            The PP Map and LV Map can be combined as one With
  explained With reference to FIGS. 4 and 5 and the Mapping                 commonly stored information. But, in accordance With a
  Map 75 Will be explained With reference to FIG. 6 and FIG.                preferred embodiment of the present invention, it is divided
  9.                                                                        into the PP Map and LV Map for helping understanding the
     The MWC map 73 of FIG. 3 is constructed With three bits                present invention logically. Combining PP Map and LV Map
  per one extent When mirror data is tWo (there are tWo                     can be preferred for embodying the present invention.
  mirrors) Therefore, the ?rst three bits are about the ?rst                   FIG. 6 is a structural chart for a Mapping Map in the
  extent. The ?rst bit is validity of original data, the second bit         metadata table, in accordance With a preferred embodiment
  is validity of the ?rst mirror data, and the third bit is validity        of the present invention. FIG. 7 is a logical structural chart
  of the second mirror data.                                                for a Mapping Map in the metadata table, in accordance With
     As an example, the ?rst mirror of disk partition 1 is disk        55   a preferred embodiment of the present invention.
  partition 2, and the second mirror is disk partition 3. The ?rst             Referring to FIG. 6, the Mapping Map 75 includes a
  bit of MWC map 73 is validity of the ?rst extent of the disk              Header 101, and a pair of PP ID 102 and Extent Number 103
  partition 1, the second bit is validity of the ?rst extent of the         per each extent for continuous logical address space of the
  disk partition 2, and the third bit is validity of the ?rst extent        logical volume. AsiZe of the Mapping Map is decided by the
  of the disk partition 3. The fourth bit is validity of the second         siZe of a corresponding disk partition and the Extent SiZe.
  extent of the disk partition 1.                                              Mapping Maps of all disk partitions constructing one
     The MWC map 73 is duplicated and stored at disk                        logical volume have logical construction 200 shoWn in FIG.
  partitions 1, 2 and 3. It is for verifying validity even if any           7. A logical address space used in a high-level module is a
  one or tWo of the disk partitions 1, 2, 3 malfunction(s).                 continuous address space equal to the possible storage space
    The extent allocation map 74 of FIG. 3 uses one bit per 65 of the Whole volume.
  each extent in the disk partition and it represents usage of a              For example, if a logical volume has striping type and
  corresponding extent.                                                     includes three disk partitions, then entries of the Logical
Case 1:18-cv-01127-UNA Document 1-1 Filed 07/31/18 Page 13 of 16 PageID #: 30


                                                      US 6,718,436 B2
                                                                                                      10
  Mapping Table in FIG. 7 Will be constructed such that each              FIG. 10 is a ?oWchart of management steps When a
  entry is for one of the disk partitions in rotating sequence.         volume is created, in accordance With a preferred embodi
  So, an index 0 contains an address of an extent existing in           ment of the present invention, and shoWs the steps of
  the ?rst disk partition. An index 1 contains an address of an         creating a neW volume by the logical volume manager.
  extent existing in the second disk partition. An index 2                 As shoWn in FIG. 10, at ?rst, a system manager requests
  contains an address of an extent existing in the third disk           creation of a volume With a Parameter ?le in step 210. Then,
  partition. An index 3 contains an address of an extent                the logical volume manager reads the Parameter ?le in step
  existing in the ?rst disk partition again.                            211. The logical volume manager initialiZes and stores a
    The above-mentioned mapping table is divided into the               metadata table of each disk partition used to construct the
  number of disk partitions forming a corresponding logical        10   logical volume according to the Parameter ?le in step 212.
  volume and each divided part is stored in each disk partition.        By the above-mentioned steps, a neW volume is created.
  Various methods can be used for dividing the above                      FIG. 11 is a ?oWchart of the steps for recogniZing of
  mentioned mapping table but here, an orderly dividing                 volumes and generating a device ?le for each volume in the
  method Will be explained.                                             system in accordance With a preferred embodiment of the
    If the total number of Extents of a logical volume is 300,     15
                                                                        present invention.
  the number of disk partitions forming the logical volume is              In detail, FIG. 11 shoWs steps for recogniZing created or
  3, and the siZe of each partition is equal, then the Logical          pre-existing volumes and generating a device ?le for each
  Address Index 201 of FIG. 7 has a range of 0~299. At this             recogniZed volume in a system after the system boots or
  point, the Mapping Map in disk partition 1 has the Logical            When a manager requests.
  Address Index of 0 through 99. The Mapping Map in disk
                                                                          First, one of the disk partitions registered in the system is
  partition 2 has the Logical Address Index of 100 through 199
                                                                        selected and it is set up as a current partition in step 220. The
  and the Mapping Map in disk partition 3 has the Logical
                                                                        current partition is a variable.
  Address Index of 200 through 299.
    FIG. 8 illustrates a mapping relation betWeen a logical               Second, the PP Map 71 and the LV Map 72 stored in the
                                                                   25   disk partition, Which is set up as the current partition, are
  address and a physical address through the mapping map, in
  accordance With a preferred embodiment of the present                 read, and necessary information structure in a memory is
  invention. In detail, FIG. 8 shoWs steps for converting a             generated for the logical volume or physical partition in step
  Relative Block Address of a logical volume to a physical              221. HoWever, if the disk partition is not a partition managed
  address in a real disk partition by using the Mapping Map.            by the logical volume manager; then a step for generating
                                                                        necessary information structure in the memory can be omit
  In other Words, FIG. 8 shoWs a method to calculate the
                                                                        ted.
  physical location of corresponding data for a logical address,
  such as a relative block address (RBA), used in a ?le system             Third, the method moves to a next disk partition in the
  or database system.                                                   system Which is set up as the neW current partition in step
    The Logical Address Index 201 is calculated by dividing             222, and it is determined Whether all disk partitions in the
                                                                   35   system have been examined in step 223.
  the RBA 130 by the Extent SiZe. A location in the Mapping
  Map is decided by the Logical Address Index.                            If all disk partitions have been examined, then device ?les
    The Mapping Map represents a location of a correspond               representing corresponding logical volumes are generated in
  ing Extent as the PPiID 102 and the Extent Number 103.                the system, step 224. If unexamined disk partitions remain,
  The PPiID identi?es a disk partition containing corre                 then the process goes to the second step 221.
  sponding Extent and {(Extent Num><Extent SiZe)+(RBA                     FIG. 12 is a ?oWchart for shoWing steps of increasing the
  mod Extent SiZe)} represents the data block location in a             siZe of an existing logical volume by adding neW disk
  corresponding disk partition.                                         partitions, in accordance With a preferred embodiment of the
    FIG. 9 illustrates a method to divide the Mapping Map               present invention, and shoWs steps for adding more than one
  and store the divided Mapping Map into each disk partition,      45
                                                                        neW disk partition to the volume for increasing the siZe of
  in accordance With a preferred embodiment of the present              the logical volume.
  invention. FIG. 9 shoWs a vieW of dividing the Mapping                  If a system manager requests adding more than one disk
  Map and storing the divided Mapping Map into disk parti               partition (step 230), then the logical volume manager ini
  tions 140, 150, 160, and 170, Which form the logical volume.          tialiZes a neW partition by creating a metadata table for the
  Mapping information is very important for the logical vol             neW partition and Writing the metadata table in a correspond
  ume so it is necessary to duplicate information of the                ing partition, step 231.
  Mapping Map in order to resolve the problems arising in                  After that, the logical volume manager modi?es the
  case of errors in a physical location containing the informa          metadata table for a pre-existing volume of disk partitions,
  tion.                                                                 Which are already forming the logical volume and the
     The information of the Mapping Map is not dependent to        55   metadata is re?ected to a disk, step 232. Then, the necessity
  a corresponding disk partition. The information of the Map            of data movement for adding neW disk partitions is deter
  ping Map stored in one disk partition contains not only               mined in step 233. The necessity of data movement Will be
  information of a corresponding disk partition but also infor          explained With reference to FIG. 13.
  mation of other disk partitions.                                         In the step 233 of FIG. 12 for determining the necessity
     Duplicating the information Within the same disk partition         of data movement, if it is necessary to move data, then the
  is useless for recovering from errors. Therefore, in the              existing data is moved, using a RAID level to the Whole
  present invention, information 141, 151, 161, 171 of the              volume including a neW disk in step 234. When moving data
  Mapping Map stored in one disk partition is duplicated and            is completed or is not necessary, the process is completed.
  stored as information 142, 152, 162, 172 into the next disk           During these steps, general accessing operations to a corre
  partition. By doing so, in case of a disk partition error, the   65   sponding logical volume are not disturbed and are processed
  information can be accessed by using the information dupli            at the same time. Since all movement of data is being tracked
  cated and stored in the next disk partition.                          and maintained by managing the Mapping Map separately,
Case 1:18-cv-01127-UNA Document 1-1 Filed 07/31/18 Page 14 of 16 PageID #: 31


                                                        US 6,718,436 B2
                                11                                                                        12
  general data accessing processes can be performed continu               present invention can minimiZe the siZe of metadata, Which
  ously during data movement.                                             is stored and maintained in disks. Therefore, by minimiZing
    FIG. 13 illustrates re-arranging data, Which can arise                the siZe of metadata and modifying the minimum siZe of
  during adding a disk partition to a volume, in accordance               metadata, the present invention can increase system perfor
                                                                          mance.
  With a preferred embodiment of the present invention, and
  shoWs re-arrangement of the data, Which can arise during                  Also, the present invention can operate With a huge
  adding a disk partition to a volume having striping type,               storage system and minimiZe initialiZing time such as sys
  Which is RAID-0.
                                                                          tem booting time by signi?cantly reducing the siZe of the
                                                                          metadata Which is maintained on the system memory While
    FIG. 13 shoWs a case of resiZing a volume 110 Where an                the system is operating.
                                                                     10
  original volume includes disk partitions 111, 112, 113 and                While the present invention has been described With
  has striping con?guration (RAID 0), and a neW disk partition            respect to certain preferred embodiments, it Will be apparent
  124 is added to the volume 110 or 120 in order to increase              to those skilled in the art that various changes and modi?
  the capacity. The logical volume 120 contains one more                  cations may be made Without departing from the scope of the
  partition 124 than the original logical volume 110.                     invention as de?ned in the folloWing claims.
                                                                     15
     Since the con?guration type of the volume is striping,                  What is claimed is:
  pre-eXisting data has to be re-distributed to four disk parti              1. A method for managing a logical volume in order to
  tions including disk partition 124. In all RAID levels includ           support dynamic online resiZing and minimiZing a siZe of
  ing striping, the effect of striping has to be re?ected to the          metadata, said method comprising steps of:
  neWly added disk partition. Such a data re-arrangement can                a) creating the logical volume by gathering disk partitions
  increase I/O performance by expanding effect of striping to                  in response to a request for creating the logical volume
  all disk partitions.                                                         in a physical storage space;
    The present invention can provide tWo methods: one                      b) generating the metadata including information of the
  method is to eXpand the RAID level to Whole disk partitions                  logical volume and the disk partitions forming the
  including the neW disk partition, and the other method is to                 logical volume and storing the metadata to the disk
                                                                     25
  eXpand the RAID level to Whole disk partitions only on                       partitions forming the logical volume;
  neWly inserted data after the addition of neW disk partition              c) dynamically resiZing the logical volume in response to
  (s). In the latter method, data re-arrangement is not needed.                a request for resiZing, and modifying the metadata on
  Only neWly inserted data are distributed considering the                     the disk partitions forming the logical volume; and
  neWly added disk partition(s).                                            d) calculating and returning a physical address corre
    In the former method, pre-eXisting data have to be                        sponding to a logical address of the logical volume by
  re-distributed into Whole disk partitions including neWly                    using mapping information of the metadata containing
  added disk partition(s).                                                     information of the physical address corresponding to
    The present invention has an ability to select and use a                   the logical address;
  method betWeen the tWo methods.                                    35     Wherein the metadata includes,
    The above-mentioned method of the present invention can                    a disk partition table containing information of a disk
  be stored in a computer readable medium including compact                       partition in Which the metadata is stored;
                                                                               a logical volume table for maintaining the information
  disc read only memory (CDROM), random access memory
  (RAM), ?oppy disk, hard disk, and magneto-optical disk.                          of the logical volume by storing duplicated informa
                                                                                   tion of the logical volume onto all disk partitions of
     In accordance With a preferred embodiment of the present                      the logical volume;
  invention, a logical address used in a higher level of a logical             an eXtent allocation table for indicating Whether each
  volume manager and a physical address of real physical disk                    eXtent in the disk partition is used or not used; and
  partitions can be managed independently by using the Map                     a mapping table for maintaining a mapping information
  ping table, and the mapping relation can be re-constructed                       for a physical address space corresponding to a
                                                                     45
  dynamically by tracking and maintaining the mapping.                             logical address space Which is a continuous address
    Because the present invention can re-construct dynami                          space equal in siZe of storage space to an entirety of
  cally the relationship betWeen the logical address and physi                     said logical volume.
  cal address, the present invention has an effect that can                  2. The method as recited in claim 1, Wherein the mapping
  increase the siZe of a volume dynamically While normal                  table is divided into parts corresponding in number to a
  operations are being serviced by adding neW disk partition              number of disk partitions forming the logical volume and
  (s) to the volume and re-arranging data stored in pre-eXisting          each divided part is stored to each disk partition.
  disk partitions corresponding to a neW volume con?guration                 3. The method as recited in claim 1, Wherein the metadata
  including neW disk partition(s).                                        further includes a mirror data table for validating data
     In managing the logical volume, the present invention can       55   located on several disk partitions corresponding to each
  tune the performance of the logical volume by moving data               mirror by maintaining the mirror data table in disk partitions
  in a busy disk partition to other un-busy disk partitions When          constructing each mirror and storing the mirror data table to
  too many accessing requests are concentrated to one speci?c             each corresponding mirror in an overlapped manner.
  disk partition.                                                           4. The method as recited in claim 1, Wherein
    The present invention can increase performance of                       said disk partition table includes the logical volume
  accessing mapping information by dividing and storing                        information to Which the disk partitions containing the
  mapping table information to several disk partitions and can                 metadata belong, information for identifying the disk
  provide service Without stopping despite the malfunctioning                  partitions, real data start information, an eXtent siZe
  of one of the disk partitions by duplicating and storing                     information of the disk partitions de?ned in the logical
  information of a mapping table in a neighbor disk partition.       65        volume, and mirror checking information;
    The present invention constructs a logical volume by                    said logical volume table is duplicated and stored in all
  using a disk partition as a volume construction unit so the                  disk partitions forming the logical volume including
Case 1:18-cv-01127-UNA Document 1-1 Filed 07/31/18 Page 15 of 16 PageID #: 32


                                                       US 6,718,436 B2
                               13                                                                     14
       logical volume identifying information corresponding                   partitions, real data starting information, eXtent siZe
       to the logical volume, logical volume name                             information of the disk partitions de?ned in the logical
       information, eXtent siZe information of the logical                    volume, and mirror checking information;
       volume, redundant array of independent disk (RAID)                  said logical volume table is duplicated and stored in all
       level information of construction type of the logical                 disk partitions forming logical volume including logi
       volume, and a total number of disk partitions forming                 cal volume identifying information corresponding to
       the logical volume;                                                   the logical volume, logical volume name information,
    said eXtent allocation table represents usage of each eXtent             eXtent siZe information of the logical volume, redun
      by using one bit per each eXtent in disk partition; and
                                                                             dant array of independent disk (RAID) level informa
    said mapping table being constructed With a pair of the         10       tion of construction type of the logical volume, and a
       disk partitions identifying information and an eXtent
                                                                             total number of disk partitions forming the logical
        number corresponding to each eXtent for mapping a
        logical address to a physical address.                               volume;
     5. The method as recited in claim 4, Wherein the eXtent               said eXtent allocation table is duplicated and stored in the
  allocation table is duplicated and stored in the disk partition             disk partition for resolving a local error of disk
                                                                    15        partition, Which is for representing usage of each eXtent
  for overcoming a local error of a disk partition Which
  contains the metadata.                                                      by using one bit per each eXtent in disk partition; and
     6. The method as recited in claim 4, Wherein the mapping              said mapping table is constructed With a pair of the disk
  table is duplicated and stored into the succeeding disk                     partitions identifying information and an eXtent number
  partition among disk partitions constructing a logical vol                  corresponding to each eXtent for mapping a logical
  ume for preventing unavailability of mapping information                   address to a physical address.
  caused by an error.                                                       10. The computer-readable recording medium as recited
     7. The method as recited in claim 4, Wherein the metadata           in claim 9, Wherein the mapping table is divided into parts
  further includes a mirror data table located on disk partitions        corresponding in number to the number of disk partitions
  storing original data or mirror data, and the mirror data table        forming the logical volume and each divided part is stored
                                                                    25
  is constructed With bits corresponding in number to the                to each disk partition.
  number of disk partitions having at least one mirror data or              11. A method for managing a logical volume in order to
  the original data per one eXtent for validating a correspond           support dynamic online resiZing and minimiZing a siZe of
  ing eXtent of each corresponding disk partition.                       metadata, said method comprising steps of:
    8. Acomputer-readable recording medium storing instruc                 a) creating the logical volume by gathering disk partitions
  tions for executing a method for managing a logical volume                 in response to a request for creating the logical volume
  in order to support dynamic online resiZing and minimiZing                 in a physical storage space;
  a siZe of metadata, said method comprising the steps of:                 b) generating the metadata including information of the
    a) creating the logical volume by gathering disk partitions               logical volume and the disk partitions forming the
       in response to a request for creating the logical volume     35       logical volume and storing the metadata to the disk
       in a physical storage space;                                          partitions forming the logical volume;
    b) generating the metadata including information of the                c) dynamically resiZing the logical volume in response to
       logical volume and the disk partitions forming the                    a request for resiZing, and modifying the metadata on
       logical volume and storing it the metadata to the disk                the disk partitions forming the logical volume; and
       partitions forming the logical volume;                              d) calculating and returning a physical address corre
    c) dynamically resiZing the logical volume in response to                sponding to a logical address of the logical volume by
       a request for resiZing, and modifying the metadata on                 using mapping information of the metadata containing
       the disk partitions forming the logical volume; and                   information of the physical address corresponding to
    d) calculating and returning a physical address corre                    the logical address;
      sponding to a logical address of the logical volume by        45     Wherein the metadata includes:
       using mapping information of the metadata containing                  a disk partition table including the logical volume
       information of the physical address corresponding to                    information to Which the disk partition containing
       the logical address;                                                    the metadata belongs, information for identifying the
    Wherein the metadata includes,                                              disk partition, real data start information, an eXtent
       a disk partition table containing information of a disk                  siZe information of the disk partition de?ned in the
          partition in Which the metadata is stored;                            logical volume, and mirror checking information;
       a logical volume table for maintaining the information                a logical volume table duplicated and stored in all disk
         of the logical volume by storing duplicated informa                    partitions constructing corresponding logical volume
         tion of the logical volume onto all disk partitions of                 including logical volume identifying information
         the logical volume;                                        55          corresponding to the logical volume, logical volume
       an eXtent allocation table for indicating Whether each                   name information, eXtent siZe information of the
         eXtent in the disk partition is used or not used; and                  logical volume, RAID level information of construc
       a mapping table for maintaining a mapping information                    tion type of the logical volume, and total number of
         for a physical address space corresponding to a                        disk partitions constructing the logical volume;
         logical address space Which is a continuous address                 an eXtent allocation table for representing usage of the
         space equal in siZe of storage space to an entirety of                eXtent by using one bit per each eXtent in the disk
        said logical volume.                                                    partition; and
    9. The computer-readable recording medium storing                        a mapping table being constructed With a pair of the
  instructions for executing a logical volume management                       disk partition identifying information and an eXtent
  method, as recited in claim 8, Wherein                            65         number corresponding to each eXtent for mapping a
     said disk partition table includes logical volume                         logical address to a physical address, for continuous
       information, information for identifying the disk                       logical address space of a logical volume.
Case 1:18-cv-01127-UNA Document 1-1 Filed 07/31/18 Page 16 of 16 PageID #: 33


                                                       US 6,718,436 B2
                               15                                                                  16
    12. The method as recited in claim 11, Wherein the extent         14. The method as recited in claim 11, Wherein the
  allocation table is duplicated and stored in the disk partition   metadata further includes a mirror data table located on disk
  for overcoming a local error of a disk partition Which            partitions storing original data or mirror data, and the mirror
  contains the metadata.                                            data table is constructed With bits corresponding in number
     13. The method as recited in claim 11, Wherein the             to the number of disk partitions having at least one mirror
  mapping table is duplicated and stored into the succeeding        data or the original data per one eXtent for validating a
  disk partition among disk partitions constructing a logical       corresponding eXtent of each corresponding disk partition.
  volume for preventing unavailability of mapping informa
  tion caused by an error.                                                                 *   *   *    *   *
